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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS

EDELSON PC, an Illinois professional
corporation, individually, and on behalf of all
others similarly situated,

                       Plaintiff,

         v.                                           Case No. 1:16-cv-11057

THE BANDAS LAW FIRM PC, a Texas
professional corporation, CHRISTOPHER
BANDAS, an individual, LAW OFFICES OF
DARRELL PALMER PC d/b/a DARRELL
PALMER LAW OFFICE, a suspended
California professional corporation, JOSEPH
DARRELL PALMER, an individual,
NOONAN PERILLO & THUT LTD., an
Illinois corporation, C. JEFFERY THUT, an
individual, GARY STEWART, an individual,
and JOHN DOES 1-20,

                       Defendants.

     DEFENDANT THE BANDAS LAW FIRM PC’s AND CHRISTOPHER BANDAS’
                   MOTION FOR ENTRY OF JUDGMENT

         NOW COMES Defendants, the Bandas Law Firm PC and Christopher Bandas

(collectively, the “Bandas Defendants”), and pursuant to Federal Rule of Civil Procedure 58,

respectfully move the Court for an entry of judgment against the Bandas Defendants for the

entire relief sought by the Plaintiffs in the only remaining Count of Plaintiff’s First Amended

Class Action Complaint and Demand for Jury Trial--Count V (“Complaint”). In support thereof,

the Bandas Defendant state as follows:


    1. On August 10, 2018, the Bandas Defendants served the Plaintiffs within an Offer of

         Judgment pursuant to Federal Rule of Civil Procedure 68 “allowing Judgment to be


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         entered against them in this action finding that they engaged in ‘the unauthorized practice

         of law in Illinois’ and further that the Court enter an order ‘enjoining Christopher Bandas

         in the Bandas Law Firm P.C. from the further practice of law in Illinois unless and until

         they obtain authorization from the Supreme Court Illinois to practice law,’ as well as for

         judgment for the ‘cost of then accrued,’ by the Plaintiffs, to be determined by the Court

         pursuant to FRCP 54, not including any attorney’s fees.” (See Offer of Judgment attached

         as Exhibit A.)

    2. Pursuant to FRCP 68, the Plaintiff had 14 days to accept the Bandas Defendants’ Offer of

         Judgment, or until August 27, 2018.

    3. Plaintiffs have not accepted the Bandas Defendants Offer of Judgment.

    4. Pursuant to FRCP 58, the Bandas Defendants move this Court for entry of Judgment

         against them for all of the relief sought against them in the sole remaining count of

         Plaintiff’s Complaint, Count V, finding that “the Bandas Law Firm PC and Christopher

         Bandas engaged in the unauthorized practice of law in Illinois” and ordering that the

         Bandas Law Firm PC and Christopher Bandas are enjoined “from the further practice of

         law in Illinois unless and until they obtain authorization from the Supreme Court of

         Illinois to practice law.”

    5. The Bandas Defendants further move this Court for the entry of Judgment against them to

         pay the Plaintiffs the “costs then accrued” to be determined by the Court pursuant to

         FRCP 54, not including attorney’s fees.


         WHEREFORE, the Bandas Defendants respectfully request the Court to enter an Order

of Judgment against them for all of the relief sought in Count V of the Complaint and for the

payment of Plaintiff’s costs then accrued.


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                                           Respectfully submitted,

                                           CHRISTOPHER BANDAS and BANDAS
                                           LAW FIRM PC

                                           By: /s/ Darren VanPuymbrouck
                                               One of Their Attorneys

Darren M. VanPuymbrouck
Alexander S. Vesselinovitch
Matthew T. Connelly
Freeborn & Peters LLP
311 South Wacker Drive
Suite 3000
Chicago, IL 60606
312-360-6000
dvan@freeborn.com
avesselinovitch@freeborn.com
mconnelly@freeborn.com

Dated: September 4, 2018




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                                CERTIFICATE OF SERVICE

        By my signature below, I hereby certify that on September 4, 2018, I electronically filed
the foregoing Motion with the Clerk of the Court using the CM/ECF system, which will send
notification of such filing to the following counsel of record:

Rafey S. Balabanian                              Joseph R. Marconi
Benjamin Harris Richman                          Brian C. Langs
Eve-Lynn J. Rapp                                 Victor J. Pioli
Edelson PC                                       Johnson & Bell, Ltd.
350 N. LaSalle Street, 13th Floor                33 West Monroe Street, Suite 2700
Chicago, IL 60654                                Chicago, IL 60603
(312) 589-6370                                   (312)372-0770
rbalabanian@edelson.com                          marconij@jbltd.com
brichman@edelson.com                             langsb@jbltd.com
erapp@edelson.com                                pioliv@jbltd.com
Attorneys for Plaintiff                          Attorneys for Noonan Perillo & Thut Ltd. and
                                                 C. Jeffrey Thut



                                                    /s/ Darren VanPuymbrouck




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